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                                    UNITED STATES DISTRICT COURT
                                    SOUTHERN DISTRICT OF FLORIDA
                                           MIAMI DIVISION

  ------------------------------------------------------------------------x
   SAHILY BUNT,                                                                    Civil Action No:
                                                                                   1:17-cv-21186-JEM
                                                    Plaintiff,




             -v.-
   CONTRACT CALLERS, INC.,

                                                Defendant.
  ------------------------------------------------------------------------x


                                         NOTICE OF SETTLEMENT

            Notice is hereby given that the parties have settled this matter. The parties anticipate

  completing settlement documents and filing a dismissal with the Court within the next sixty (60)

  days. The parties request that the Court retain jurisdiction of this case during said sixty (60) day

  period.



  DATED, this 28th day of February, 2018

                                                                 /s/ Michael Jay Ringelheim
                                                                 Michael Jay Ringelheim, Esq.
                                                                 RC Law Group, PLLC
                                                                 285 Passaic Street
                                                                 Hackensack, NJ 07601
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                                                                 mjringelheim@rclawgroup.com
                                                                 Attorney for Plaintiff Sahily Bunt




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                                   CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that a true and correct copy of the foregoing was electronically filed
  on February 28, 2018 with the Clerk of Court using CM/ECF. I also certify that the foregoing
  document is being served this day on all counsel of record or pro se parties identified on the Service
  List below either via transmission of Notices of Electronic Filing generated by CM/ECF or in some
  other authorized manner for those counsel or parties who are not authorized to receive
  electronically Notices of Electronic Filing.



                                                 /s/ Michael Jay Ringelheim
                                                 Michael Jay Ringelheim, Esq.




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